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LAW OFFICES
JOHN S. WALLENSTEIN
1100 Franklin Avenue, Suite 305
Garden City, New York 11530
(516) 742-5600 Fax (516
Email: JSWalle nEsq@outlook

October 11, 2022

BY ECF ONLY

Hon. Vincent Briccetti
United States District Court, SDNY
300 Quarropas Street

.cO

APPLICATION GRANTED

i poe OM6ENT

White Plains, New York 10401

Re: United States ¥. Tishawn Woods
Docket #51 2] CR 372 (VB)

Cece Pies NY
ea

3. OO PU

Dear Judge Briccetti,

I write to respectfully request that the sentencing scheduled for October
19, 2022 be adjourned util November 9, 2022 at 11:00 a.m., to enable the
completion of sentencing Bubmissions. We have recently been in touch with
family members of the d¢fendant who are providing significant information

related to his background, thus the need for more time.

Ms. Hilbert has indic

A—23——

Thank you for your cpurtesy and consideration.

JSW /hs
cc: AUSA Jeffrey Coffman (by ECF)

ted that the Court is available on that date and time.
AUSA Jeffrey Coffman adviges that the Government consents to this applicatiory

Respectfully yours,

Cen ten CAA N

10/12/2022, 8:33 AM
